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                         IN THE UNITED STATES DISTRICT COURT                           1-'B UIS RICTGOURT
                                                                                     DiSF ~' GT OF NEBRASKA
                             FOR THE DISTRICT OF NEBRASKA
                                                                                            SEP 2 4 2021
UNITED STATES OF AMERICA,
                                                                          8:21CR
                       Plaintiff,                                                    OFi=lCE OF THE CLERK
                                                                     INDICTMENT
        vs.
                                                                    18 U.S.C. § 1344
                                                                 18 U.S .C. § 1028A(a)(l)
LINDA JENKINS ,

                        Defendant.

        The Grand Jury charges that

                                     COUNTS I THROUGH III

        1.     In or about August 2020, in the District of Nebraska and elsewhere, the defendant,
LINDA JENKINS , knowingly executed, and attempted to execute, a scheme and artifice to defraud
financial institutions and to obtain any of the moneys, funds, credits, assets, securities, and other
property owned by, and under the custody and control of, a financial institution, by means of
materially false and fraudulent pretenses, representations, and promises, as stated below ("the
Scheme"):
                                     The Purpose of the Scheme
       2.      The purpose of the Scheme was for JENKINS to emich herself and others
unlawfully by falsely and fraudulently posing as actual bank customers, presenting false
identification documents and other items and unlawfully withdrawing funds from customers' home
equity lines of credit and/or other accounts at financial institutions.
                                Manner and Means of the Scheme
       3.      To achieve the purpose of the Scheme, JENKINS used the following manner and
means, among others.
       4.      During the Scheme, JENKINS traveled with other participants in the Scheme
("Confederates"), to and through the states oflowa and Nebraska.
       5.      Confederates provided to one another:
               a.      the names of actual customers,
               b.      account information for the customers at financial institutions,


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                c.        false identification documents, credit cards and other items in the names of
                          actual customers but bearing JENKINS ' s or a Confederate' s picture, and
                d.        direction concerning the transaction to conduct or attempt to conduct.
          6.    JENKINS kept track on her cell phone of the customers whose identities she
assumed.
          7.    Using the account information, false identification and other documents, JENKINS
and Confederates falsely represented themselves to be customers with accounts at the financial
institutions, and withdrew funds from those customers' home equity lines of credit and/or from
other accounts. JENKINS and Confederates obtained the funds in cash, in the form of a check,
and/or by instructing the financial institution to transfer funds to another account.
          8.    JENKINS and Confederates provided transportation to one another to conduct the
fraudulent transactions at financial institutions ..
          9.    JENKINS and Confederates typically conducted and attempted to conduct a series
of such fraudulent transactions at financial institutions and/or their branches in a particular city
over several days, after which they moved to another city and repeated the process.
                                      The Financial Institutions
          10.   Bank A, known to the Grand Jury, was a financial institution within the meaning
of Title 18, United States Code, Section 20, being a depository institution insured by the Federal
Deposit Insurance Corporation. Bank A was based in Sioux Falls, South Dakota, and maintained
branches throughout the United States, including the District of Nebraska.
                                    The Executions of The Scheme

          11.   On or about the dates stated below, JENKINS executed, and attempted to execute,
the Scheme in the manner described above:




  COUNT               DATE          BANK AND LOCATION                      TRANSACTION

      I              08/21 /20      Bank A, 3536 Comstock        Attempted withdrawal of $8,700.00
                                    Ave, Bellevue, Nebraska      from account of customer S.A.
     II              08/22/20       Bank A, 4707 S 96 th St,     Withdrawal of $8,900 in cash, one
                                    Omaha, Nebraska              $33 ,875.00 cashier's check, and one
                                                                 $7,650.00 cashier' s check from
                                                                 account of customer L.E.

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     III             08/25/20       Bank A, 4650 S. 24 th St,     Attempted withdrawal of $9,000.00
                                    Omaha, Nebraska               from account of customer J.G.


           All in violation of Title 18, United States Code, Section 1344.

                                               COUNT IV

           On or about August 21, 2020, at or near 3536 Comstock Ave, Bellevue, in the District of

Nebraska, the defendant, LINDA JENKINS , did knowingly possess and use, without lawful

authority, a means of identification of another person during and in relation to a felony violation

enumerated in 18 U.S.C. § 1028A(c), to wit, Bank Fraud in violation of 18 U.S.C. § 1344,

knowing that the means of identification belonged to another actual person.

       In violation of Title 18, United States Code, Section 1028A(a)(l).

                                               COUNTY

       On or about August 22, 2020, at or near 4707 S 96 th St, Omaha, in the District of Nebraska,

the defendant, LINDA JENKINS, did knowingly possess and use, without lawful authority, a

means of identification of another person during and in relation to a felony violation enumerated

in 18 U.S.C. § 1028A(c), to wit, Bank Fraud in violation of 18 U.S.C. § 1344, knowing that the

means of identification belonged to another actual person.

       In violation of Title 18, United States Code, Section 1028A(a)(l ).

                                              COUNT VI

       On or about August 25 , 2020, at or near 4650 S. 24 th St, Omaha, in the District of Nebraska,

the defendant, LINDA JENKINS, did knowingly possess and use, without lawful authority, a

means of identification of another person during and in relation to a felony violation enumerated

in 18 U.S .C. § 1028A(c), to wit, Bank Fraud in violation of 18 U.S.C. § 1344, knowing that the

means of identification belonged to another actual person.

       In violation of Title 18, United States Code, Section 1028A(a)(l ).


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                                                   A TRUE BILL. · 11




       The United States of America requests that trial of this case be held in Omaha, Nebraska,
pursuant to the rules of this Court.




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